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IN THE UNITED STATES DISTRICT COURT v
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

UNITED STATES OF AMERICA

 

V. NO. 4118-1\/1]-288

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CHALEE DELAINE CHAMPBELL
ENTRY OF APPEARANCE OF COUNSEL

I hereby enter my appearance as appointed counsel for the above-named defendant in
this cause.

l understand that it is my duty to continue to represent the named defendant in connection
With all matters relating to this case, and in connection With all proceedings therein in this Court;
to assist him/her With any appeal Which he/ she desires to perfect, and to represent him/her on
appeal until a final judgment has been entered; unless and until, after Written motion filed by me,
I arn relieved by Order of the Court.

I am aware that in all cases, an arraignment is scheduled promptly after the return or filing
of an indictment or information, at Which time the defendant must enter a plea. I have read and
am familiar With Rule 12, Federal Rules of Criminal Procedure, pertaining to pretrial motions.

   

 

    

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